        Case 1:24-cv-03188-RC          Document 14           Filed 01/30/25   Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 JOHNSON & JOHNSON HEALTH CARE                           §
 SYSTEMS INC.,                                           §
                                                         §
                  Plaintiff,                             §
                                                         §
                       v.                                §
 DOROTHY FINK, Acting Secretary of Health                §
 and Human Services, et al,                              §
                                                         §
                 Defendants.                             §
                                                         §       Case No. 1:24-cv-3188-RC
 340B Health,                                            §
      1350 I Street, NW, Suite 800                       §
      Washington, DC 20005                               §
                                                         §
 and                                                     §
                                                         §
 UMass Memorial Medical Center                           §
    55 Lake Avenue North ED                              §
    Worcester, MA 01655                                  §
                                                         §
 and                                                     §
                                                         §
 Genesis HealthCare System                               §
      2951 Maple Ave                                     §
      Zanesville, OH 437                                 §
                                                         §
               Proposed Intervenor – Defendants.         §



       340B HEALTH, UMASS MEMORIAL MEDICAL CENTER, AND GENESIS
               HEALTHCARE SYSTEM’S MOTION TO INTERVENE

       PLEASE TAKE NOTICE that the undersigned, counsel for 340B Health, UMass

Memorial Medical Center (UMass), and Genesis HealthCare System (Genesis) hereby moves

this Court to Intervene as Defendants in this lawsuit.
         Case 1:24-cv-03188-RC         Document 14       Filed 01/30/25     Page 2 of 3




         In support of this Motion, Proposed Intervenors are submitting a Memorandum in

Support of the Motion to Intervene, Declarations of Maureen Testoni, Shona Carr, and Meetali

Desai in Support of the Motion to Intervene, and a Proposed Order.

         In accordance with District for the District of Columbia Local Rule 7(m), Proposed

Intervenors consulted with counsel for Plaintiff and Defendants. Plaintiff’s counsel has advised

that they will oppose the Motion to Intervene and Defendants’ counsel has advised that they will

take no position on the motion.

         For the reasons set forth in the Memorandum of Law in Support of the Motion to

Intervene, Proposed Intervenors request that the Court grant their Motion to Intervene of Right

under Rule 24(a), or in the alternative, to allow Proposed Intervenors to Intervene under Rule

24(b).



 Dated: January 30, 205                           Respectfully submitted,




                                                  William B. Schultz (D.C. Bar No. 218990)
                                                  Margaret M. Dotzel (D.C. Bar No. 425431)
                                                  ZUCKERMAN SPAEDER LLP
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                                                  Attorneys for Proposed Intervenors




                                            -2-
        Case 1:24-cv-03188-RC          Document 14        Filed 01/30/25     Page 3 of 3




                                   CERTIFICATION OF SERVICE

I, William B. Schultz, hereby certify as follows:

       On January 30, 2025, I caused to be filed with the Court and served upon all counsel of

record via ECF the following:

   1. Notice of Motion to Intervene;
   2. Memorandum of Law in Support of Motion to Intervene;
   3. Declarations of Shona Carr, Meetali Desai, and Maureen Testoni in Support of Motion to
      Intervene; and
   4. Proposed Order.

       I certify that the foregoing statements made by me are true. I am aware that if any of

these statements are willfully false, I am subject to punishment.


 Dated: January 30, 2025



                                                    William B. Schultz (D.C. Bar No. 218990)
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                                            -3-
